       Case 2:09-cr-00113-GMN-EJY           Document 480         Filed 06/18/12       Page 1 of 1




                                  UNITED STATES DISTRICT COURT
                                       DISTRICT OF NEVADA

UnitedStatesofAm erica
                     Plaintiff,
                                                               DistrictNo, 2:09-CR-0113-GM N-PAL
 V8.


 LuisVega-ltubio

                     Defendant.
                         ORDER TEM POM RILY UNSEALING TRANSCRIPT


         OnJune 13th,2012 thiscourtreceivedatranscriptorderform datedJune 131 ,2012 requesting a
Transcriptcopy oftheFebruery l6,2011Jury TrialDay 13from M s.M argaretHonrath,CounselforPlaintiff.in
which a portlon oftheTrialDay issealed.
         IT IS THE ORDER OF THE COURT thatthesealedportion oftllerecording shallbeunseiled bythe
Clcrk fortlw lhnitedpurposeofproviding a.eanscriptcopy ofthehearing asrequcstedby Plaintiffcounsel.

        IT IS FURTHER ORDERRD thatthesealedportionoft'
                                                     herecordingshallthercaRerberesealedbythe
Clerk,untilfurtherorderofthisCourt.


         IT IS FURTHER ORDERED thatDefendantCounselsballnotdisclosethesealedcontentsoftbe
transcripttoanyoneotherthalltherepresentativesofthepartiesdirectly concerned with thiscase.


         Dated this 18th day ofJune,2012.




                                                 G r' M .N avan'o
                                                   i d StatesD istrictJudge
